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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION


In re:
                                                                Case No. 19-16118-RBR
MICHAEL JOSEPH MCSHANE

                                                                Chapter 7
              Debtor.
                                                 /


              TRUSTEE'S APPLICATION FOR EMPLOYMENT OF ATTORNEY

         Sonya S. Slott, Trustee, respectfully requests an order of the court authorizing the

 employment of Mark Bonacquisti, Esq. and The Salkin Law Firm, P.A. to represent the trustee in

 this case and states:

         1.      It is necessary that the trustee employ an attorney to represent the trustee in this

 case to perform ordinary and necessary legal services required in the administration of the estate.

         2.      The attorney does not hold or represent any interest adverse to the estate and the

 trustee believes that the employment of this attorney would be in the best interest of the estate.

         3.      Attached to this motion is the proposed attorney's affidavit demonstrating Mark

 Bonacquisti of The Salkin Law Firm, P.A., are disinterested as required by 11 U.S.C. §327(a),

 with the disclosure noted in the affidavit and a verified statement as required under Bankruptcy

 Rule 2014.

         4.      The attorney has agreed to be compensated in accordance with 11 U.S.C. §330.

 The trustee believes that the attorney is qualified to practice in the Bankruptcy Court and is

 qualified to advise the trustee on its relations with, and responsibilities to, the debtor, creditors

 and other parties.
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       WHEREFORE, the trustee respectfully requests an order authorizing the employment of

Mark Bonacquisti, Esq. and The Salkin Law Firm, P.A. to represent the trustee on a general

retainer, pursuant to 11 U.S.C. §§327 and 330.

      I HEREBY CERTIFY that a copy of the foregoing was mailed via U.S. mail to all parties


on the attached service list, and via CM/ECF to attorney for the debtor and Office of the United


States Trustee on May 14, 2019.


                                                    /s/ Sonya S. Slott, Trustee
                                                    Sonya S. Slott, Trustee
                                                    P.O. Box 15580
                                                    Plantation, FL 33318
                                                    Tel: 954-423-4469
                                                    Fax: 954-423-4479
                 Case 19-16118-RBR         Doc 11      Filed 05/14/19     Page 3 of 6



                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA


In re:
MICHAEL JOSEPH MCSHANE                                                  Case No.: 19-16118-RBR
                                                                        Chapter 7

_____________DEBTORS_______/


  VERIFIED STATEMENT OF MARK BONACQUISTI, ESQ. ON BEHALF OF THE
SALKIN LAW FIRM P.A. AS PROPOSED GENERAL COUNSEL FOR THE TRUSTEE

          Pursuant to 11 U.S.C. § 327 F.R.B.P., 2014 and 9011, 28 U.S.C. § 1746 and Local Rule

2014-1(A), the proposed attorney for the Trustee hereby submits his Verified Statement and

states:

          1. I am an attorney admitted to practice in the State of Florida and the United States

             District Court for the Southern District of Florida.

          2. I am employed by The Salkin Law Firm, P.A. with offices located at 950 South Pine

             Island Road, Suite A150, Plantation, FL 33324. Neither I, nor the firm hold or

             represent any interest adverse to the estate, and we are disinterested persons as

             required by §327(a). The Trustee is a member of the firm.

          3. Neither I, nor The Salkin Law Firm, P.A. have any connections with the debtors,

             creditors, any other party in interest, their respective attorneys and accountants, the

             U.S. Trustee, or any person employed in the office of the U.S. Trustee. The Trustee is

             a member of The Salkin Law Firm P.A.

          4. The hourly billing rate for attorneys are $200.00 to $450.00, and for clerks and

             paralegals ranging from $60.00 to $125.00 subject to periodic change and subject to

             award of the Bankruptcy Court.
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May 14, 2019
Label Matrix for local noticing Case 19-16118-RBR        Doc 11 Filed 05/14/19
                                            Synchrony Bank                          Page  5 of 6Coradius International LLC
                                                                                       American
113C-0                                      PRA Receivables Management, LLC             2420 Sweet Home Rd #150
Case 19-16118-RBR                           PO Box 41021                                Buffalo, NY 14228-2244
Southern District of Florida                Norfolk, VA 23541-1021
Fort Lauderdale
Tue May 14 14:39:33 EDT 2019
Bank of New York Mellon                     Bankamerica                                 Boca Medical Center
c/o McCalla Raymer Leibert Pierce, LLC      4909 Savarese Circle                        21644 Florida 7
225 E. Robinson St Suite 155                Tampa, FL 33634-2413                        Boca Raton, FL 33428
Orlando, FL 32801-4326


Boca Regional Hospital                    CIGNA Health and Life Insurance Company       Capital Incentive Group Financial
650 Glades Rd.                            POB 182223                                    POB 19795
Boca Raton, FL 33431-6414                 Chattanooga, TN 37422-7223                    Irvine, CA 92623-9795



Capital One Bank Usa N                    Cig Financial                                 Cleveland Clinic
Po Box 30281                              Po Box 19795                                  POB 89410
Salt Lake City, UT 84130-0281             Irvine, CA 92623-9795                         Cleveland, OH 44101-6410



Cmre Finance                              Comcast                                       Cordell and Cordell, P.C.
3075 E Imperial Hwy                       POB 530099                                    500 E Broward Blvd Suite 1710
Brea, CA 92821-6733                       Atlanta, GA 30353-0099                        Fort Lauderdale, FL 33394-3012



Dr. Ari Silverstein                       Dr. Jeffrey B. Worth, MD                      Firstsource Advantage, LLC
701 NW 13th St 3rd floor                  4400 Sheridan St                              POB 23950
Boca Raton, FL 33486-2305                 Hollywood, FL 33021-3514                      Belleville, IL 62223-0950



Fort Lauderdale Fire Rescue               GEMB Lending, Inc                             Internal Revenue Service*
POB 31076                                 POB 960063                                    POB 7346
Tampa, FL 33631-3076                      Orlando, FL 32896-0063                        Philadelphia, PA 19101-7346



Mary Zogg                                 Nc Financial                                  Ncb Management Service
Orlando Law Group                         175 W Jackson Blvd                            1 Allied Drive
12301 Lake Underhill Rd                   Chicago, IL 60604-2863                        Trevose, PA 19053-6945
Suite 213
Orlando, FL 32828-4511

Net Credit American Coradive              Office of the US Trustee                      Onemain
175 W. Jackson Blvd., Suite 1000          51 S.W. 1st Ave.                              Po Box 1010
Chicago, IL 60604-2863                    Suite 1204                                    Evansville, IN 47706-1010
                                          Miami, FL 33130-1614


Onemain Financial                         Republic Bank & Trust Company                 Santander Consumer Usa
Po Box 1010                               Elastic Payment Processing                    Po Box 961245
Evansville, IN 47706-1010                 POB 950276                                    Ft Worth, TX 76161-0244
                                          Louisville, KY 40295-0276
Specialized Loan Servi           Case 19-16118-RBR
                                             Syncb/WalmartDoc 11             Filed 05/14/19   Page
                                                                                                 The6Zogg
                                                                                                      of 6Law Firm
8742 Lucent Blvd                               Po Box 965024                                      c/o Mary Zogg
Highlands Ranch, CO 80129-2386                 Orlando, FL 32896-5024                             501 North Magnolia Ave
                                                                                                  Orlando, FL 32801-1364


Urology Care Specialists                       Michael Joseph McShane                             Mitchell J. Nowack Esq.
1601 Clint Moore Rd                            1514 SW 25th Street                                8551 Sunrise Blvd #208
Suite 195                                      Fort Lauderdale, FL 33315-2213                     Plantation, FL 33322-4007
Boca Raton, FL 33487-5716


Sonya Salkin                                   End of Label Matrix
PO Box 15580                                   Mailable recipients      36
Plantation, FL 33318-5580                      Bypassed recipients       0
                                               Total                    36
